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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division

 MARTA REYES; LAWRENCE WOOD; et al.,
 on behalf of themselves                                  CASE NO. 1:20-cv-21108-UU
 and all those similarly situated,                        HON. URSULA UNGARO

               Plaintiffs,                                CLASS ACTION

 v.

 PEOPLE’S REPUBLIC OF CHINA;
 COMMUNIST PARTY OF CHINA; et al.,

 Defendants.
 _____________________________________/

         STATUS REPORT PURSUANT TO COURT’S APRIL 23, 2020 ORDER

        Plaintiffs, by and through undersigned counsel, hereby provide the Court with a

 Status Report pursuant to the Court’s April 23, 2020 Order, which requires Plaintiffs to

 file a status report every fifteen days. [DE 10].

        Since the last status report of May 26, 2020, the translation of the First Amended

 Complaint into Official Chinese has been completed. The Hague Convention-required

 U.S. Marshall Service Form 94’s (USM-94) for each Defendant have also been

 completed. In consultation with Plaintiffs’ vendor for Foreign Service Immunity Act

 compliant service, Plaintiffs have determined that a different summons form must be

 used for all Defendants other than the Communist Party of China, and are preparing

 those for submission on June 11, 2020, and the service packages will be sent to China

 once those are issued.

        Furthermore, concurrent with this filing, Plaintiffs will be filing a motion regarding

 the irrelevant filings of David Christenson.
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        Plaintiffs next status report will be filed on June 25, 2020.

        Respectfully submitted this 10th day of June, 2020.




                                      By: /s Matthew T. Moore
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been filed this

 June 10, 2020, with the Court’s CM/ECF filing system, which shall cause an email

 notice to be sent to all parties of record in this matter.



                                      By: /s Matthew T. Moore
                                      Matthew T. Moore, Esq.
                                      Fla. Bar No. 70034
